Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 1 of 6
Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 2 of 6
Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 3 of 6
Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 4 of 6
Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 5 of 6
Case 5:10-cr-04011-MWB-LTS   Document 351   Filed 11/03/10   Page 6 of 6
